UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

AT KNOXVILLE
UNITED STATES OF AMERICA
Case No. 3:22-MI-2|Z(p
V.
Filed Under Seal
MARK THOMAS RENO

 

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT
L, Jessi Mann, being duly sworn, do depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. Lam a Special Agent (“SA”) with the Federal Bureau of Investigation (“FBI”). I
have been in this position since January 2021 when I completed new agent training at the FBI
Academy in Quantico, Virginia. J am assigned to the Knoxville Division of the FBI within the
Counterterrorism Branch. During my time as a Special Agent, I have conducted and participated
in a variety of investigations, including international and domestic terrorism investigations. As
part of my duties, I have participated in the execution of federal search and arrest warrants. Asa
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detection, investigation, or prosecution of a violation of Federal criminal laws.

A I make this affidavit in support of a criminal complaint and arrest warrant against
Mark Thomas Reno (“RENO”) for a violation of 18 U.S.C § 1361 (Destruction of Government
Property). Based on my training and experience with the FBI, I am familiar with various criminal
statutes, including 18 U.S.C § 1361.

3. The information contained in this affidavit is known to me through personal
knowledge and information received from other law enforcement personnel. As this affidavit is

being submitted for the limited purpose of obtaining a criminal complaint and arrest warrant, I

Case 3:22-cr-00073-KAC-JEM Document 2 Filed 07/15/22 Pagelof8 PagelD #: 2
have not included each and every fact known to me concerning this investigation. I have instead
set forth facts that I believe are sufficient to establish probable cause for the Court to authorize a
criminal complaint and arrest warrant against RENO.

4, Title 18, U.S.C. § 1361 provides in relevant part:

Whoever willfully injures or commits any depredation against any

property of the United States, or any department or agency thereof. ..shall

be punished as follows: If the damage or attempted damage to such

property exceeds the sum of $1,000, by a fine under this title or
imprisonment for not more than ten years, or both.

PROBABLE CAUSE

5. On April 26, 2022, a law enforcement officer in an undercover capacity (“Officer-
1”), working on an ongoing investigation, met in-person with RENO at a public gathering in
Knoxville. RENO had previously met with Officer-1 in January 2022 at another public event in
Knoxville.

6. During the April 26, 2022 meeting with RENO, Officer-1 was wearing a video
and audio recording device, which device surreptitiously recorded RENO. Among other things,
RENO told Officer-1 that he (RENO) was part of a a called the Church Militant Resistance.
Open-source information identified the Church Militant Resistance as local chapter of the
Church Militant, whose mission is to resist actions that oppose the Catholic Orthodoxy and/or
decency.

7. During the video and audio recorded statement on April 26, 2022, which I have
reviewed, RENO made a number of statements about identifying targets and destroying property,
including government buildings. In substance and in part, RENO told Officer-1: “I mean, we
have plenty of targets ... there should be no Department of Education ... federally speaking, all

education is done by the states so why the Feds in on it at all... Department of uh, Energy — don’t

Case 3:22-cr-00073-KAC-JEM Document 2 Filed 07/15/22 Page2of8 PagelD #: 3
need it ... | mean, I me —I mean, the government’s here for de — for defense, roads, and privacy
of communication. ... that’s all that it’s ... entitled to in the constitution...it’s not entitled to do
anything else ... get rid of it all ... Fuck. It ain’t gonna happen ... How we gonna -- well you’re
not gonna get the genie in the bottle ... You’re not getting the genie back in the bottle . . . So —
it’s fucking war ... it’s war to the end now.”

8. During the same surreptitiously recorded conversation on April 26, 2022, RENO
also admitted to being at the attack on the Capitol Building on January 6, 2021, and using
multiple tactics to avoid detection, to include a fake walking cane, not bringing his phone, and
wearing glasses. RENO further stated you should not bring your phone if you are going to do
something illegal because the government can track you.

- Based on my review of photographs from the January 6, 2021 attack on the
Capitol Building, I know that RENO was, in fact, present outside the Capitol Building on
January 6, 2021. Moreover, and corroborating RENO’s own statements, RENO can be seen
holding a walking cane and wearing glasses outside the Capitol Building on January 6, 2021.' To
date, we have found no evidence that RENO entered the Capitol or otherwise committed a

criminal act on January 6, 2021.

 

1 RENO stated “I was there on January 6 ... I don’t sleep so good ... you know, them
motherfuckers come for me ... they ain’t gonna take me alive ... ’m not gonna — I told you I’m -
[I’m - I’m — uh, what is it called — um. . . afraid of tight spaces .. . I’m claustrophobic ... can’t
- [ - ] -- and I’m not gonna be — and I’m not gonna be treated like them motherfuckers, too.
They’ ve been there for over a year now — Fifteen months now . . . Huh-uh, PI kill ‘em... Th-
They’ ll kill me... But I’m gonna kill a bunch of them. How many am I allowed . . . before they
get me — because, once we get going, we’re dead men .. . So—So what — yeah — so, now what
can you do before you’re dead . . . and really, I’m — I’ve come to that point. I’m — I’,m gonna be
a dead man here, pretty soon, so — No, not by — they’re gonna be after my ass. I can’t let
somebody do this by themself... Somebody’s gonna have to fucking do something. ...

Case 3:22-cr-00073-KAC-JEM Document 2 Filed 07/15/22 Page3of8 PagelD#: 4

O_o
10. On June 13, 2022, the Honorable Jill E. McCook, United States Magistrate Judge
for the Eastern District of Tennessee, authorized a search warrant to track RENO’s black 2012
Ford Fusion (“Vehicle-1”) and RENO’s red 2006 GMC Sierra truck (“Vehicle-2”). Both
Vehicle-1 and Vehicle-2 are registered to RENO at RENO’s address (the “RENO Residence”).

11. From on or about April 20, 2022 until on or about June 27, 2022, RENO was
placed under physical surveillance approximately 19 times with each surveillance shift lasting
between four and eight hours. RENO’s wife was observed as a passenger in Vehicle-1 and
Vehicle-2 approximately three times. RENO was the only individual observed driving Vehicle-1
and Vehicle-2 during surveillance.

12. OnJuly 3, 2022, a security guard (the “Security Guard”) was working a day shift
at the John J. Duncan Federal Office Building in Knoxville, Tennessee (the “Federal Building”).
At approximately 1:45 PM, while heating up his lunch in the first-floor break room, the Security
Guard heard two loud bangs emanating from the front lobby area of the Federal Building. The
Security Guard immediately returned to the lobby of the Federal Building and observed damage
to two lower adjacent windows facing Locust Street. The Security Guard next left the lobby and
quickly proceeded to the rear exit door facing West Church Street. The Security Guard exited the
building and walked to Locust Street to assess the damaged windows. The Security Guard
observed two broken windows in the lobby area and a third broken exterior window in the
Internal Revenue Service (“IRS”) office of the Federal Building. The damaged window in the
IRS office was also facing Locust Street and approximately 20 feet north of the damaged lobby
windows. All of the damaged windows were double paned. The exterior pane on each of the
three windows had a discernable point of impact with radiating cracks from the point of impact

to the window frame. The interior pane of each of the affected windows was undamaged.

Case 3:22-cr-00073-KAC-JEM Document 2 Filed 07/15/22 Page4of8 PagelID#:5
13. Anemployee and contract project manager for the Federal Building indicated that
the estimated cost to repair the damaged windows was approximately $5,440.

14. Onor about May 13, 2022, a pole camera was installed in the vicinity of the
RENO Residence. Since the installation of the pole camera, it does not appear that anyone other
than RENO and RENO’s wife reside at the RENO Residence. On July 3, 2022, at approximately
10:51 AM, Vehicle-1 departed the RENO Residence. A review of the pole camera footage for
this date and time revealed that the driver appeared to be the sole occupant of Vehicle-1.

15. On July 3, 2022, at approximately 11:16 AM, Vehicle-1 was captured by a license
plate reader (“LPR”) camera located in the vicinity of Asheville Highway at John Sevier in Knox
County. The Vehicle-1 driver appeared to be the sole occupant of Vehicle-1. In the photograph
there appears to be a white fedora style hat resting on the ledge below the rear window on the
driver’s side of Vehicle-1.

16. On July 3, 2022, at approximately 11:26 AM, the Vehicle-1 tracking device
placed Vehicle-1 in the vicinity of the Bank of America Financial Center located at 550 West
Main Street, Knoxville, TN.

17. On July 3, 2022, at approximately 11:27 AM, a security camera on the Federal
Building captured a dark colored sedan with a white object resting on the ledge below the rear
window on the driver’s side of the vehicle—the dark colored sedan captured in the surveillance
video appears to be Vehicle-1 based on the color, body type, and the white object resting on the
ledge below the driver’s side window. Vehicle-1 was traveling westbound on Cumberland
Avenue and making a left turn onto Locust Street.

18. On July 3, 2022, at approximately 11:32 AM, the tracking device for Vehicle-1

placed Vehicle-1 in the vicinity of the United States Attorney’s Office in downtown Knoxville.

Case 3:22-cr-00073-KAC-JEM Document 2 Filed 07/15/22 Page5of8 PagelD #: 6

 

 
Vehicle-1 remained in this location for approximately two minutes before departing and
traveling to a church attended by RENO, arriving at approximately 11:47 AM. Less than two
hours later, at approximately 1:37 PM, the tracking device showed Vehicle-1 traveling
southbound on North Central Street in the direction of downtown Knoxville. Several minutes
later, at approximately 1:43 PM, the tracking device showed Vehicle-1 in the vicinity of West
Church and Locust Street, approximately one block north of the Federal Building. Vehicle-1
remained in this location for approximately two minutes.

19. At approximately 1:45 PM, the tracking device placed Vehicle-1 adjacent to the
Federal Building on Locust Street. Also, at 1:45 PM, a security camera on the Federal Building
captured Vehicle-1 traveling southbound on Locust Street. Vehicle-1 decreased its speed briefly
in the vicinity of the first damaged window in the IRS office. The image of Vehicle-1 in this
position was partially obscured by tree foliage. Vehicle-1 next accelerated and then immediately
slowed to a brief stop in the vicinity of the second and third damaged windows in the lobby of
the Federal Building. As Vehicle-1 was decelerating to a stop, what appeared to be an object
pointing in the direction of the damaged lobby windows was briefly extended and then retracted
through the driver’s side window. Finally, Vehicle-1 accelerated towards the traffic light on the
corner of Locust Street and Cumberland Avenue. Based on my training and experience, as well
as my participation in this investigation, it appears that RENO fired a proj ectile out of Vehicle-1
to destroy the windows in the Federal Building.

20. On July 3, 2022, at approximately 1:45 PM, a security camera on the Federal
Building captured Vehicle-1 traveling southbound on Locust Street and making a left turn onto
Cumberland Avenue. Vehicle-1 was traveling in the wrong direction on a one-way street. At

approximately 1:45 PM, a security camera on the Federal Building captured Vehicle-1 traveling

Case 3:22-cr-00073-KAC-JEM Document 2 Filed 07/15/22 Page6of8 PagelD #: 7
northbound on Walnut Street passing the entrance to the Federal Building parking garage. One
minute later, at approximately 1:46 PM, a security camera inside the Federal Building captured
the Security Guard exiting the rear doors facing West Church Street. A security camera on the
Federal Building captured the Security Guard walking towards Locust Street, parallel to West
Church Street, along the side of the Federal building. After the Security Guard reached the
Locust Street side of the Federal Building, he turned left and walked out of view from the
camera. Vehicle-1 is captured traveling southbound on Locust Street. Vehicle-1 noticeably
reduced speed when it was likely in view of the Security Guard. One minute later, at
approximately 1:47 PM, a security camera on the Federal Building captured Vehicle-1 traveling
southbound on Locust Street and making a right turn onto Cumberland Avenue.

21. On July 3, 2022, at approximately 1:55 PM, the tracking device placed Vehicle-1
in the vicinity of I-40 and Asheville Highway in East Knox County. At approximately 1:56 PM,
an LPR camera captured Vehicle-1 in the vicinity of Asheville Highway at John Sevier Highway
in Knox County.

22.  OnJuly 3, 2022, at approximately 2:23 pm, the Vehicle-1 tracking device placed
Vehicle-1 at the RENO Residence. A review of location history for RENO’s cell phone revealed
that his cell phone remained in Jefferson City, TN on July 3, 2022, which is consistent with
RENO’s statement to Officer-1 that RENO does not take his cell phone in order to avoid

detection.

Case 3:22-cr-00073-KAC-JEM Document 2 Filed 07/15/22 Page 7of8 PagelD #: 8

BS CLCLULCULULCULLCsC‘(iéis™COCO;C_iéit#éeé#éeséa........ eee
CONCLUSION
23. Based on the foregoing, I respectfully submit that there is probable cause to
believe that, within the Eastern District of Tennessee, RENO has violated 18 U.S.C. § 1361

(Destruction of Government Property).

Respectfully submitted,

Jesu VL
Jessi Mann
Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me on July 15, 2022.

pe Till E. McCook
nited States Magistrate Judge

 

Case 3:22-cr-00073-KAC-JEM Document 2 Filed 07/15/22 Page8of8 PagelD#: 9

SS
